Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 1 of 7




               Exhibit 19ZZG
Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 2 of 7
Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 3 of 7
                                           Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 4 of 7


                                                                                         Test Case #13


                                                                                                                                                                                                                        Revenue/
                                                          Jan       Feb        Mar          Apr          May        Jun        Jul        Aug        Sep          Oct        Nov        Dec        May-Dec    Annual    Expenses


Step 1 Calculation:
2009                  Revenue                             51,886    62,604     81,873      67,997    103,414       100,444    111,741    74,288      93,365      80,826     55,960     106,671     726,709    991,069       1.65
                      Variable Expense                    49,385    45,150     49,267      45,687     58,539        54,271     65,546    54,937      51,725      39,258     45,165      42,090     411,531    601,020
                      Variable Profit                      2,501    17,454     32,606      22,310     44,875        46,173     46,195    19,351      41,640      41,568     10,795      64,581     315,178    390,049


2010                  Revenue                             47,631    22,770     72,090      70,738    155,248        74,522    181,089    55,711       26,196     65,722     53,545      71,737     683,770    896,999       1.36
                      Variable Expense                    27,672    17,657     39,163      46,960     79,999        87,882     69,762    31,332       47,462     37,816     27,296     148,612     530,161    661,613
                      Variable Profit                     19,959     5,113     32,927      23,778     75,249       (13,360)   111,327    24,379      (21,266)    27,906     26,249     (76,875)    153,609    235,386


                      Change in Variable Profit (2010‐2009)                                              30,374    (59,533)    65,132     5,028      (62,906)    (13,662)   15,454     (141,456)
                      BEL Step 1 Compensation                                                                                                                   (202,570)


BP's Proposal:
2009                  BP Proposed Revenue                 81,435    74,451     81,240      75,337        96,530     89,492    108,084    90,590      85,293      64,736     74,476      69,406     678,606    991,069
                      Variable Expense                     49,385    45,150     49,267      45,687        58,539     54,271     65,546    54,937      51,725      39,258     45,165      42,090     411,531   601,020
                      BP Proposed Variable Profit         32,050    29,301     31,973      29,650        37,991     35,221     42,538    35,653      33,568      25,478     29,311      27,316     267,075    390,049


2010                  BP Proposed Revenue                 37,517    23,939     53,096      63,667    108,461       119,148     94,582    42,479      64,348      51,270     37,007     201,485     695,514    896,999
                      Variable Expense                     27,672    17,657     39,163      46,960     79,999        87,882     69,762    31,332      47,462      37,816     27,296     148,612    530,161    661,613
                      BP Proposed Variable Profit          9,845     6,282     13,933      16,707     28,462        31,266     24,820    11,147      16,886      13,454      9,711      52,873     188,619    235,386


                      Change in BP Proposed Variable Profit (2010‐2007/09 Average)                       (9,529)    (3,954)   (17,718)   (24,506)    (16,683)    (12,024)   (19,600)    25,557
                      BEL Step 1 Compensation (per BP's Proposal)                                                                                   (104,013)
                                                    Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 5 of 7


                                                                                                Test Case #20


                                                                                                                                                                                                                           Revenue/
                                                               Jan           Feb      Mar          Apr          May       Jun        Jul        Aug        Sep        Oct       Nov        Dec        May-Dec    Annual    Expenses

Step 1 Calculation:
2009                  Revenue                                     13,253     28,958   29,563       35,435       23,380     4,901     23,403     33,663        4,211   24,593    12,053     175,896     302,100   409,309         2.65
                      Variable Expense                            10,641      5,991    9,174        5,678       10,766     4,599      8,751      2,056        8,592    3,385     2,714      82,118     122,981   154,465
                      Variable Profit                              2,612     22,967   20,389       29,757       12,614       302     14,652     31,607       ‐4,381   21,208     9,339      93,778     179,119   254,844


2010                  Revenue                                     23,654      3,486   16,474       16,014       47,946     7,335      5,067     18,855      10,199    18,220    24,402      20,870     152,894   212,522         2.70
                      Variable Expense                             5,990      4,173      221        7,697        8,308     5,409      1,748      4,698       3,148     6,963    10,650      19,785      60,709    78,790
                      Variable Profit                             17,664       ‐687   16,253        8,317       39,638     1,926      3,319     14,157       7,051    11,257    13,752       1,085      92,185   133,732


                      Change in Variable Profit (2010‐2009)                                                     27,024     1,624    (11,333)   (17,450)     11,432    (9,951)    4,413     (92,693)
                      BEL Step 1 Compensation                                                                                                             (115,582)


BP's Proposal:
2009                  BP Proposed Revenue                         28,197    15,875    24,310      15,046        28,528    12,187    23,189      5,448      22,768      8,970     7,192     217,600 325,881       409,309
                      Variable Expense                             10,641     5,991     9,174       5,678        10,766     4,599     8,751      2,056       8,592      3,385     2,714     82,118 122,981       154,465
                      BP Proposed Variable Profit                 17,556     9,884    15,136       9,368        17,762     7,588    14,438      3,392      14,176      5,585     4,478    135,482 202,900        254,844


2010                  BP Proposed Revenue                         16,157    11,256      596       20,761        22,409    14,590     4,715     12,672        8,491    18,781    28,726     53,367     159,155    212,522
                      Variable Expense                             5,990     4,173      221        7,697         8,308     5,409     1,748      4,698        3,148     6,963    10,650     19,785      59,005     78,790
                      BP Proposed Variable Profit                 10,167     7,083      375       13,064        14,101     9,181     2,967      7,974        5,343    11,818    18,076     33,582                133,732


                      Change in BP Proposed Variable Profit (2010‐2007/09 Average)                              (3,661)    1,593    (11,471)    4,582       (8,832)    6,234    13,599    (101,901)
                      BEL Step 1 Compensation (per BP's Proposal)                                                                                          (99,857)
                                           Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 6 of 7


                                                                                Test Case #71




                                                                                                                                                                                                                           Revenue/E
                                                              Jan     Feb          Mar          Apr        May        Jun         Jul      Aug        Sep        Oct         Nov        Dec         May-Dec    Annual      xpenses

Step 1 Calculation:
2009                  Revenue                            108,804     188,553     148,525    137,752       141,241    195,153    113,810    92,357    130,943    103,463      80,917       79,201    937,085    1,520,719        1.34
                      Variable Expense                    115,169     141,856     92,202     90,669       105,568    113,832     90,090    69,481    120,775     24,114     (17,510)     185,845    692,195    1,132,091
                      Variable Profit                      (6,365)    46,697      56,323     47,083        35,673     81,321     23,720    22,876     10,168     79,349      98,427     (106,644)   244,890      388,628
                                                            (0.06)      0.25        0.38       0.34          0.25       0.42       0.21      0.25       0.08       0.77        1.22        (1.35)      0.26         0.26

2010                  Revenue                             90,422     109,905      62,254        94,936     87,320    127,326     64,405    78,773     78,297     42,188     31,166       29,939     539,414     896,931         1.93
                      Variable Expense                    52,394      50,654      36,054        19,375     33,351     53,977     23,419    23,877     35,048      6,807      4,205      126,315     306,999     465,476
                      Variable Profit                     38,028      59,251      26,200        75,561     53,969     73,349     40,986    54,896     43,249     35,381     26,961      (96,376)    232,415     431,455
                                                            0.42        0.54        0.42          0.80       0.62       0.58       0.64      0.70       0.55       0.84       0.87        (3.22)       0.43        0.48

                      Change in Variable Profit (2010‐2009)                                                18,296     (7,972)    17,266    32,020     33,081     (43,968)   (71,466)     10,268
                      BEL Step 1 Compensation                                                                                                                   (105,166)


BP's Proposal:
2009                  BP Proposed Revenue                154,705     190,553     123,853    121,794       141,808    152,909    121,016    93,333    162,235     32,392     (23,521)    249,642     929,814    1,520,719
                      Variable Expense                    115,169     141,856      92,202     90,669       105,568    113,832     90,090    69,481    120,775     24,114     ‐17,510     185,845     692,195   1,132,091
                      BP Proposed Variable Profit         39,536      48,697      31,651     31,125        36,240     39,077     30,926    23,852     41,460      8,278       (6,011)    63,797     237,619      388,628


2010                  BP Proposed Revenue                100,959      97,606      69,473        37,334     64,264    104,009     45,126    46,009     67,534     13,116       8,103     243,398     591,560     896,931
                      Variable Expense                     52,394      50,654      36,054        19,375     33,351     53,977     23,419    23,877     35,048      6,807       4,205     126,315    306,999     465,476
                      BP Proposed Variable Profit         48,565      46,952      33,419        17,959     30,913     50,032     21,707    22,132     32,486      6,309       3,898     117,083     284,561     431,455


                      Change in BP Proposed Variable Profit (2010‐2007/09 Average)                         (5,326)    10,955     (9,219)   (1,720)    (8,974)     (1,968)     9,909      53,285
                      BEL Step 1 Compensation (per BP's Proposal)                                                                                    (16,252)
                                            Case 2:10-md-02179-CJB-DPC Document 8963-86 Filed 03/20/13 Page 7 of 7


                                                                                    Test Case #72


                                                                                                                                                                                                                                    Revenue/
                                                               Jan        Feb          Mar           Apr        May         Jun           Jul       Aug         Sep         Oct        Nov        Dec        May-Dec    Annual      Expenses

Step 1 Calculation:
2009                  Revenue                                  59,246    144,845     309,608      17,562        201,295    322,161      182,601     26,366     125,535    125,420     124,522    127,674 1,235,574      1,766,835       1.31
                      Variable Expense                          52,940    121,723     140,285     146,458        166,388    165,920      107,338     47,372      69,644    163,062      74,345     95,000  889,069      1,350,475
                      Variable Profit                           6,306     23,122     169,323    (128,896)        34,907    156,241       75,263    (21,006)     55,891    (37,642)     50,177     32,674   346,505        416,360
                                                                 0.11       0.16        0.55        (7.34)         0.17       0.48         0.41       (0.80)      0.45       (0.30)      0.40       0.26                     0.24

2010                  Revenue                                 119,565     19,951      50,903         26,575      94,611      61,103     279,245    22,669       53,086     62,834      33,211     80,558      687,317    904,311        1.46
                      Variable Expense                          36,528     16,268      23,674         33,582    137,409       78,049      85,204    19,174       17,492     54,554      30,675     86,146     508,703    618,755
                      Variable Profit                          83,037      3,683      27,229         (7,007)    (42,798)    (16,946)    194,041     3,495       35,594      8,280       2,536     (5,588)     178,614    285,556
                                                                 0.69       0.18        0.53           (0.26)     (0.45)       (0.28)      0.69      0.15         0.67       0.13        0.08       (0.07)                  0.32

                      Change in Variable Profit (2010‐2009)                                                     (77,705)   (173,187)    118,778    24,501      (20,297)     45,922    (47,641)   (38,262)
                      BEL Step 1 Compensation                                                                                                                             (167,891)


BP's Proposal:
2009                  BP Proposed Revenue                      69,262    159,251     183,536        191,612     217,686    217,074      140,431    61,977       91,116    213,335      97,266    124,289 1,163,175      1,766,835
                      Variable Expense                          52,940    121,723     140,285        146,458     166,388    165,920      107,338    47,372       69,644    163,062      74,345     95,000   889,069     1,350,475
                      BP Proposed Variable Profit              16,322     37,528      43,251         45,154      51,298     51,154       33,093    14,605       21,472     50,273      22,921     29,289   274,106        416,360


2010                  BP Proposed Revenue                      53,386     23,776      34,600         49,080     200,823    114,069      124,526    28,023       25,565     79,731      44,832    125,902      743,470    904,311
                      Variable Expense                          36,528     16,268      23,674         33,582     137,409     78,049       85,204    19,174       17,492     54,554      30,675     86,146     508,703    618,755
                      BP Proposed Variable Profit              16,858      7,508      10,926         15,498      63,414     36,020       39,322     8,849        8,073     25,177      14,157     39,756      234,767    285,556


                      Change in BP Proposed Variable Profit (2010‐2007/09 Average)                               12,116     (15,135)      6,229     (5,756)    (13,399)    (25,096)    (8,764)    10,467
                      BEL Step 1 Compensation (per BP's Proposal)                                                                                              (61,922)
